          Case 1:18-cv-02844-RDB Document 339-3 Filed 08/28/20 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SECURITIES AND EXCHANGE                       )
COMMISSION,                                   )
                                              )
         Plaintiff,                           )
                                              )      Case No.: 1:18-cv-02844-RDB
v.                                            )
                                              )
KEVIN B. MERRILL, et al.,                     )
                                              )
         Defendants.                          )


            ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL
      OF SEVENTH INTERIM FEE APPLICATION OF HUSCH BLACKWELL LLP

         Before the Court is the Receiver’s Motion for Approval of Seventh Interim Fee

Application of Husch Blackwell LLP. Having considered the motion, and any responses or

objections thereto, the evidence presented, and arguments of counsel, if any, the Court finds that

the time spent, services performed, hourly rates charged, and expenses incurred by Husch

Blackwell LLP on behalf of the Receivership Estate were reasonable and necessary for the

Receiver to perform his Court-ordered duties. The Court, having reviewed the Motion, is of the

opinion that the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $214,021.84 for the fees and

expenses incurred between April 1, 2020 and June 30, 2020 is approved.

Signed this ____ day of ________________, 2020.




                                             RICHARD D. BENNETT
                                             UNITED STATES DISTRICT COURT JUDGE




HB: 4834-7546-2857.2
